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Honorable Judge Christopher Cooper May 18 2023
U.S. District Court 333
Constitution Avenue, N.W.
Washington, D.C. 20001




Dear Judge Cooper,



My name is Stephanie Marcoux and I am writing this letter requesting leniency on behalf of
Kirstyn Niemela, who is a January 6th Defendant. Case # 1:21-cr-00623


I met Kirstyn sometime back in 2008 when her and my sister Holly Gaines became friends.
Holly and Kirstyn have since began a relationship. Kirstyn has been a part of our family for
years. We love getting together for bone fires, cookouts, birthdays and we look forward to
many more. I know Kirstyn to be a thoughtful and giving person. Kirstyn has fostered and
found homes for many animals in need. One being Lenny, Lenny is a Russian Bear dog who
was about to be euthanized. He was aggressive from being mistreated but Kirstyn thought
that he deserved a chance at a good life. She was determined to find Lenny a home. After
several attempts at finding a home she was able to get into contact with a man in Vermont
who raises Russian Bear dogs. He was willing to give Lenny a chance. So, she rescued Lenny
and brought him to Vermont where he lives a happy life.


Kirstyn cares so much for her friends and family. She goes out of her way to help people in
need, whether it be a friend who needs a place to stay or a stranger who needs to be towed
out of a ditch during a snow storm. During Hurricane Harvey Kirstyn volunteered her time
collecting donations and assisting people in Texas.
In 2017 Holly and Kirstyn received custody of our older brothers two sons Nathan and
Anthony. While living with them, Anthony and Nathan thrived academically and emotionally.
Holly and Kirstyn provided the boys with Love, Guidance, and Protection in which they
needed, but never received prior. At the time our brother was living out of state and didn’t
have a relationship with his kids. Their mother was arrested for drugs and was supposed to
spend a long time in prison. In 2018 there were multiple drug case in Manchester NH that
got thrown out because of police misconduct. One of those cases was the mother of Nathan
and Anthony. So when she was released from jail, the kids got put back into her custody.
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Holly and Kirstyn hired an attorney and fought endlessly to gain custody back but got
denied. Their mother got them taken away two more times before they ended up in foster
care. Nathan and Anthony have now been adopted. I know that both Holly and Kirstyn
would do anything for those boys.


Kirstyn and Holly have two dogs Boston and Brooklyn that are the highlight of their lives.
Over the years they have built a beautiful life together. They have underwent many of life’s
obstacles to get where they are today. Kirstyn plays a major role in Holly and Kirstyn’s
Household. Kirstyn and Holly depend on each other financially and emotionally. Being
without the support of one another would be devastating. Your Honor, I am asking you to
please consider using leniency when sentencing Kirstyn Niemela.



Sincerely,
Stephanie Marcoux


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